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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
  ________________________________________________________________________

  CHARLES EMERAD,                                           CASE NO: 2:17-cv-5684

          Plaintiff,                                        CIVIL ACTION

  RONY'S ROCKIN' GRILL LLC,                                  COMPLAINT
  a New Jersey limited liability company,
  d/b/a RONY'S ROCKIN' GRILL,
  and MICHAEL SHIAKALLIS, an
  individual,

          Defendants


          Plaintiff, CHARLES EMERAD, (hereinafter the “Plaintiff”), through his

  undersigned counsel, hereby files this Complaint and sues RONY’S ROCKIN’ GRILL

  LLC, a New Jersey limited liability company, d/b/a RONY’S ROCKIN’ GRILL, and MICHAEL

  SHIAKALLIS, an individual, (hereinafter, collectively, the “Defendants”), for injunctive

  relief, attorney’s fees and costs (including, but not limited to, court costs and expert fees)

  pursuant to 42 U.S.C. §12181, et. seq., (“AMERICANS WITH DISABILITIES ACT” or

  “ADA”)       and     N.J.S.A.   10:5-1    et.   seq.,   (“NEW   JERSEY      LAW     AGAINST

  DISCRIMINATION” or “LAD”) and alleges:

                                  JURISDICTION AND PARTIES

          1.         This is an action for declaratory and injunctive relief pursuant to Title III

  of the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred

  to as the “ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331

  and §343.

          2.         Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all

  events giving rise to this lawsuit occurred in New Jersey.




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         3.      The remedies provided by the New Jersey Law Against Discrimination are

  not exclusive and state administrative remedies need not be exhausted in connection with

  suits brought under the federal Civil Rights Act.

         4.      At the time of Plaintiff’s visit and/or attempted visit to RONY’S ROCKIN’

  GRILL, prior to instituting the instant action, CHARLES EMERAD (hereinafter referred

  to as “Plaintiff”) was a resident of the State of New Jersey, residing at 293 Murray Hill

  Terrace, Apt. 603, Bergenfield, NJ 07621, suffered from what constitutes a “qualified

  disability” under the Americans With Disability Act of 1990, and used a wheelchair for

  mobility. The Plaintiff personally visited Defendants’ Property, but was denied full and

  equal access to, and full and equal enjoyment of, the facilities within Defendants’

  Property, which is the subject of this lawsuit.

         5.      The Defendants, RONY’S ROCKIN’ GRILL LLC, a New Jersey limited

  liability company, d/b/a RONY’S ROCKIN’ GRILL, and MICHAEL SHIAKALLIS, an

  individual, are authorized to conduct, and are conducting business within the State of New

  Jersey. Upon information and belief, RONY’S ROCKIN’ GRILL LLC d/b/a RONY’S

  ROCKIN’ GRILL, is the owner, lessee and/or operator of the real property (the “Subject

  Facility”), and the owner of the improvements where the Subject Facility is located which

  is the subject of this action, the facility commonly referred to as RONY’S ROCKIN’

  GRILL LLC d/b/a RONY’S ROCKIN’ GRILL. Defendants’ Property located at 83 N.

  Washington Avenue, Bergenfield, New Jersey (hereinafter and heretofore referred to

  collectively as “Defendants’ Property”), which also maintains and controls the Subject

  Facility. Upon information and belief, MICHAEL SHIAKALLIS, an individual, is the

  owner, lessor and/or operator of the real property where the Subject Facility is located

  which is the subject of this action, the restaurant commonly referred to as RONY’S



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  ROCKIN’ GRILL LLC d/b/a RONY’S ROCKIN’ GRILL, located at 83 N. Washington

  Avenue, Bergenfield, New Jersey (hereinafter and heretofore the “Subject Facility”)

  which also maintains and controls the subject real property.

         6.      All events giving rise to this lawsuit occurred in the Borough of

  Bergenfield, Bergen County, State of New Jersey. Venue is proper in this Court as the

  premises is located in the State of New Jersey

    COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         7.      On or about July 26, 1990, Congress enacted the Americans With

  Disabilities Act (“ADA”), 42 U.S.C. §12101 et. seq. Commercial enterprises were

  provided one and a half years from enactment of the statute to implement its

  requirements. The effective date of the Title III of the ADA was January 26, 1992. 42

  U.S.C. §12181; 20 C.F.R. §36.508(a).

         8.      Congress found, among other things, that:

                 (i)    some 43,000,000 Americans have one or more physical or
                 mental disabilities, and this number shall increase as the
                 population continues to grow older;

                 (ii)    historically, society has tended to isolate and segregate
                 individuals with disabilities, and, despite some improvements,
                 such forms of discrimination against disabled individuals
                 continue to be a pervasive social problem, requiring serious
                 attention;

                 (iii) discrimination against disabled individuals persists in
                 such critical areas as employment, housing, public
                 accommodations, transportation, communication, recreation,
                 institutionalization, health services, voting and access to public
                 services and public facilities;

                 (iv)     individuals with disabilities continually suffer forms of
                 discrimination, including outright intentional exclusion, the
                 discriminatory effects of architectural, transportation, and
                 communication barriers, failure to make modifications to existing
                 facilities and practices. Exclusionary qualification standards and



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                 criteria, segregation, and regulation to lesser services, programs,
                 benefits, or other opportunities; and,

                (v)      the continuing existence of unfair and unnecessary
                 discrimination and prejudice denies people with disabilities the
                 opportunity to compete on an equal basis and to pursue those
                 opportunities for which our country is justifiably famous, and
                 costs the United States billions of dollars in unnecessary expenses
                 resulting from dependency and non-productivity.

         42 U.S.C. §12101(a)(1)-(3), (5) and (9).

         9.      Congress explicitly stated that the purpose of the ADA was to:

                 (i)      provide a clear and comprehensive national mandate for
                 the elimination of discrimination against individuals with
                 disabilities;

                 (ii)   provide clear, strong, consistent, enforceable standards
                 addressing discrimination against individuals with disabilities;
                 and,

                 (iii) invoke the sweep of congressional authority, including the
                 power to enforce the fourteenth amendment and to regulate
                 commerce, in order to address the major areas of discrimination
                 faced on a daily by people with disabilities.

         42 U.S.C. §12101(b)(1)(2) and (4).

         10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants’

  Property, is a place of public accommodation in that it is a restaurant which provides,

  entertainment, food, beverages and other services to the public.

         11.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

  and/or Subject Facility which is the subject of this action is a public accommodation

  covered by the ADA and which must be in compliance therewith.

         12.     The Plaintiff is informed and believes, and therefore alleges, that the

  Subject Facility has begun operations and/or undergone substantial remodeling, repairs

  and/or alterations since January 26, 1990.




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          13.     Defendants have discriminated, and continue to discriminate, against the

  Plaintiff, and others who are similarly situated, by denying full and equal access to, and

  full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

  accommodations at Defendants’ Property, in derogation of 42 U.S.C. §12101 et. seq., and

  as prohibited by 42 U.S.C. §12182 et. seq., and by failing to remove architectural barriers

  pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

          14.     The Plaintiff has been unable to, and continues to be unable to, enjoy full

  and equal safe access to, and the benefits of, all the accommodations and services offered

  at Defendants’ Property. Prior to the filing of this lawsuit, Plaintiff personally visited

  and/or attempted to visit Defendants’ Property, with the intention of using Defendants’

  facilities, but was denied full and safe access to the facilities of Defendants’ Property, and

  therefore suffered an injury in fact. In addition, Plaintiff continues to desire to visit

  Defendants’ Property in the future, but continues to be injured in that she is unable to and

  continues to be discriminated against due to the architectural barriers which remain at

  Defendants’ Property, all in violation of the ADA.

          15.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

  Department of Justice, Office of the Attorney General, promulgated Federal Regulations

  to implement the requirements of the ADA, known as the Americans with Disabilities

  Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which

  said Department may obtain civil penalties of up to $110,000 for the first violation and

  $150,000 for any subsequent violation.

          16.     The Defendants’ Subject Facility is in violation of 42 U.S.C. §12181 et.

  seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the Plaintiff

  as a result of inter alia, the following specific violations:



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           (i)     Failure to provide an accessible entrance, due to a step at said

                   entrance, without an ADA compliant ramp and/or wheelchair lift, in

                   violation of 28 C.F.R. Part 36, Section 4.14.

           (ii)    Failure to provide a safe and accessible means of egress from the

                   Subject Facility, in violation of 28 C.F.R. Part 36, Section 4.3.10.

           (iii)   The dining bar/counter, is higher than 34 inches above the finish floor,

                   in violation of the requirements of 28 C.F.R. Part 36, Section 5.2,

                   which requires a maximum height of the counter, or a 60 inch wide

                   section of it, to be 34 inches maximum height.

           (iv)    The sales counter, is inaccessible, in violation of 28 C.F.R. Part 36,

                   Section 7.2(1), which requires that a portion of the main counter which

                   is a minimum of 36 inches (915 mm) in length shall be provided with a

                   maximum height of 36 inches (915 mm) above the finished floor.

           (v)     Failure to modify the restroom at the Subject Facility for accessibility,

                   including, but not limited to, rearranging walls and door to provide

                   sufficient accessibility, maneuvering space and turn radius in restroom,

                   for individuals with disabilities, as required by 28 C.F.R. Part 36,

                   Section 4.17.

           (vi)    Failure to install the required rear grab bar in said restroom, around an

                   accessible toilet, in accordance with 28 C.F.R. Part 36, Section 4.17.6.

           (vii)   Failure to install the required side grab bar in said restroom, around an

                   accessible toilet, in accordance with 28 C.F.R. Part 36, Section 4.17.6.

           (viii) Failure to provide an accessible door handle, on the entrance door to

                   said restroom, that can be operable with one hand and shall not require



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                   tight grasping, pinching or twisting of the wrist, as required by 28

                   C.F.R. Part 36, Section 4.13.9.   `

           (ix)    Failure to install an accessible mirror in said restroom, in compliance

                   with 28 C.F.R. Part 36, Section 4.19.6.

           (x)     Failure to provide a paper towel dispenser in said restroom, at an

                   accessible height, as required by 28 C.F.R. Part 36, Section 4.22.7.

           (xi)    Failure to provide an accessible soap dispenser in said restroom, as

                   required by 28 C.F.R. Part 36, Section 4.22.7.

           (xii)   Failure to provide an ADA-compliant sink in said restroom, in

                   violation of 28 C.F.R. Part 36, Section 4.24.

           (xiii) Failure to provide accessible faucet handles on the sink in said

                   restroom that can be operated with a closed fist and does not require

                   tight grasping, tight pinching, or twisting of the wrist to operate, in

                   violation of 28 C.F.R. Part 36, Sections 4.19.5.

           (xiv)   Failure to insulate the exposed pipes under the sink in said restroom, to

                   prevent burns or other injuries, as required by 28 C.F.R. Part 36,

                   Section 4.19.

           (xv)    Failure to provide an accessible, ADA-compliant toilet in said

                   restroom, in violation of 28 C.F.R. Part 36, Section 4.17.

           (xvi)   Failure to provide an accessible, ADA-compliant locking mechanism

                   on said restroom door that can be operable with one hand and shall not

                   require tight grasping, pinching or twisting of the wrist, as required by

                   28 C.F.R. Part 36, Section 4.27.4 and Section 4.13.9.




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                (xvii) Failure to provide ADA-compliant signage at the entrance to said

                        restroom, in violation of 28 C.F.R. Part 36, Section 4.30.

                (xviii) The cash register at the high sales counter, is at an inaccessible height,

                        in violation of 28 C.F.R. Part 36.

                (xix)   Failure to provide securely attached floor mat at the interior of the

                        entrance to the Subject Facility, in violation of 28 C.F.R. Part 36,

                        Section 4.5.3.

                (xx)    Failure to provide adequate directional and accurate informational

                        signage throughout the Subject Facility, as required by 28 C.F.R. Part

                        36, Section 4.1.3(16).

                (xxi)   Failure to provide signage, in the Subject Facility, addressing people

                        with disabilities, telling them that accessible services are provided, as

                        required by 28 C.F.R. Part 36, Section 4.30.4.

          17.      Upon information and belief, there are other current violations of the ADA

  at Defendants’ Property, and only once a full inspection is done can all said violations be

  identified.

          18.      To date, the readily achievable barriers and other violations of the ADA

  still exist and have not been remedied or altered in such a way as to effectuate

  compliance with the provisions of the ADA.

          19.      Pursuant to the ADA, 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the

  Defendants were required to make the Subject Facility, a place of public accommodation,

  accessible to persons with disabilities since January 28, 1992. To date, the Defendants

  have failed to comply with this mandate.




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         20.       The Plaintiff has been obligated to retain undersigned counsel for the

  filing and prosecution of this action. The Plaintiff is entitled to have his reasonable

  attorney’s fees, costs and expenses paid by the Defendants, pursuant to 42 U.S.C.

  §12205.

         21.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

  grant the Plaintiff’s injunctive relief; including an order to alter the subject facilities to

  make them readily accessible to, and useable by, individuals with disabilities to the extent

  required by the ADA, and closing the subject facilities until the requisite modifications

  are completed.

                          COUNT II- VIOLATION OF THE
                    NEW JERSEY LAW AGAINST DISCRIMINATION

         22.       Plaintiff repeats the allegations contained in paragraphs 1-21 as if they

  were expressly stated herein.

         23.       The New Jersey LAD provides that: “[i]t shall be ... an unlawful

  discrimination ... [f]or any owner, proprietor, superintendent, agent, or employee of any

  place of public accommodation, directly or indirectly, to refuse, withhold from or deny to

  any person any of the accommodations, advantages, facilities or privileges thereof or to

  discriminate against any person in the furnishing thereof....”

         24.       The New Jersey LAD further provides that: “All of the provisions of the

  act to which this act is a supplement shall be construed to prohibit any unlawful

  discrimination against any person because such person is or has been at any time

  handicapped….”

         25.       The New Jersey LAD further provides that: “A place of public

  accommodation’ shall include, but not be limited to: any tavern or services of any kind;




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   any restaurant, eating house, or place where food is sold for consumption of the premises;

   ... other place of amusement....”.

           26.     Defendants’ Property is a place of public accommodation as defined in the

   LAD.

           27.     The New Jersey LAD further provides that: “All remedies available in

   common law tort actions shall be available to prevailing plaintiffs. These remedies are in

   addition to any provided by this act or any other statute.”

           28.     The New Jersey LAD further provides that anyone who violates the LAD

   is liable for penalties no to exceed $10,000, in addition to any other relief or affirmative

   action provided by law.

           29.     Plaintiff visited Defendants’ Property, but was unable to equally access

   the goods, services, and accommodations therein due to the architectural barriers set forth

   above in this Complaint.

           30.     Plaintiff continues to desire to visit Defendants’ Property again, but

   continues to experience serious difficulty due to the barriers set forth herein which, upon

   information and belief, still exist.

           31.     By maintaining architectural barriers and policies that discriminate against

   people with disabilities and through the other actions described hereinabove, Defendants

   have directly and/or indirectly refused, withheld from, and denied to Plaintiff the full and

   equal enjoyment of their place of accommodation because of his disability.

           32.     Plaintiff has been damaged and will continue to be damaged by this

   discrimination.

           WHEREFORE, the Plaintiff hereby demands judgment against the Defendants

   and requests the following injunctive and declaratory relief:



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         A.     The Court declare that the subject property and Subject Facility owned,

                operated, leased, controlled and/or administered by the Defendants are

                violative of the ADA and of the New Jersey LAD;

         B.     The Court enter an Order requiring the Defendants to alter their facilities

                and amenities to make them accessible to and usable by individuals with

                disabilities to the full extent required by the Title III of the ADA and by

                the New Jersey LAD;

         C.     The Court enter an Order directing the Defendants to evaluate and

                neutralize their policies, practices and procedures toward persons with

                disabilities, for such reasonable time so as to allow the Defendants to

                undertake and complete corrective procedures to the Subject Facility;

         D.     The Court award reasonable attorney’s fees, all costs(including, but not

                limited to court costs and expert fees) and other expenses of suit, to the

                Plaintiff; and

         E.     The Court award such other and further relief as it deems necessary, just

                and proper.

         Dated: This 3rd day of August, 2017.

                                                Respectfully submitted,


                                                By: /S/ Robert J. Mirel         .
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